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IN THE UNITED sTArEs DISTRICT CoURT i"*'~*i="`* M ~ !:"3"""“`“
FoR THE WEs'rERN DIsTRICT oF TENNEssEE l q F,, _ ,,.
WESTERN DrvlsloN @~`3 M- 29 '~‘~‘l H‘ 53
UNITED sTATES 0F AMERICA
V.
BILLY GENE WILLIAMS 05¢r20236-B
oRDER oN ARRAIGNMENT

 

This cause came to be heard on % 34 g 005- the United States Attorney

for this district appeared on behalf of the g€vernm@ht, and the defendant appeared in person and with
counsel:

NAME <j f 0’# X/N/U who is Retained/Appointed.

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The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

A]l motions shall be filed within thirty (30) days from the date hereof unless, for good cause
shoyro a District Judge, such period is extended

The defendant, Who is not in custody, may stand on his present bond.
The defendant, (not having made bond) (being a state prisoner) (being a federal
prisoner) (being held Without bond pursuant to BRA of 1984), is remanded to the custody

of the U.S. Marshal.
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UNITED STATES MAGISTRATE ]UDGE

 

CHARGES - 21:846
CONSPIRACY TO DISTRIBUTE CONTROLLED SUBSTANCE

Attorney assigned to Case: D. Henry

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This notice confirms a copy ofthe document docketed as number 18 in
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Honorable J. Breen
US DISTRICT COURT

